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 JAMES A. BUSTAMANTE, SBN 133675
 809 Montgomery, 2nd Floor
 San Francisco CA 94133
 Tel 415/394-3800
 Fax 415/394-3806

 Attorney for Defendant
 WU SANG NAH




                      UNITED STATES DISTRICT COURT
                    DISTRICT OF NORTHERN CALIFORNIA
                         SAN FRANCISCO DIVISION



 UNITED STATES OF AMERICA,                       CR 05-0395 CRB

             Plaintiff,                          STIPULATION AND [PROPOSED]
                                                 ORDER TO CONTINUE AND
        v.                                       EXCLUDE TIME

 WU SANG NAH,

             Defendant.
                                            /


        THE UNDERSIGNED PARTIES HEREBY STIPULATE and agree that

 the change of plea date, now set for September 27, 2006, be

 continued to October 25, 2006 at 2:15 p.m.                  The parties further
 stipulate and agree to an exclusion of time under the Speedy

 Trial Act from September 27, 2006 to October 25, 2006.                     This

 Court previously excluded time until September 27, 2006.

        As set forth in detail the accompanying declaration of

 counsel, the ends of justice served by granting the continuance

 outweigh the best interest of the public and the defendant in a

 speedy trial, where the failure to grant the requested exclusion

 would deny defense counsel reasonable time necessary for

 effective preparation of the defense taking into account the


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 exercise of due diligence and for continuity of counsel.

 Therefore exclusion of time is made under to 18 U.S.C. §§

 3161(h)(8)(A) and (h)(8)(B)(iv).



 /S/JAMES BUSTAMANTE                    /S/PETER B. AXELROD
 JAMES BUSTAMANTE                       PETER B. AXELROD
 Attorney for WU SANG NAH               Assistant U.S. Attorney
 Dated: September 22, 2006              Dated: September 22, 2006




        IT IS SO ORDERED.
                                                   ISTRIC
        Dated: Sept. 25, 2006                 TES D      TC
                                            TA




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                                        S
                                        CHARLES R. BREYER




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                                        U.S. District Court Judge
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